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 1   WEINER BRODSKY KIDER PC
     Mitchel H. Kider, CA Bar No. 116479
 2   Jason W. McElroy (pro hac vice)
 3   Joseph M. Katz (pro hac vice)
     Jasmine Jean-Louis (pro hac vice)
 4   1300 19th Street, NW Fifth Floor
     Washington, DC 20036
 5   Telephone: 202.628.2000
     Facsimile: 202.628.2011
 6   Email: kider@thewbkfirm.com, mcelroy@thewbkfirm.com,
 7          katz@thewbkfirm.com, jean-louis@thewbkfirm.com

 8       OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
         Thomas M. McInerney, CA Bar No. 162055
 9       One Embarcadero Center, Suite 900
         San Francisco, CA 94111
10       Telephone: 415.442.4810
         Facsimile: 415.442.4870
11       Email: tmm@ogletree.com
12       Attorneys for Defendant Academy Mortgage Corporation
13
                                    UNITED STATES DISTRICT COURT
14                                NORTHERN DISTRICT OF CALIFORNIA

15       UNITED STATES OF AMERICA, ex rel.                       Civil Action No. 3:16-cv-02120 (EMC) (SK)
         GWEN THROWER,
16
                            Plaintiff,                           ACADEMY MORTGAGE
17                                                               CORPORATION’S
         vs.                                                     ADMINSTRATIVE MOTION TO
18                                                               FILE UNDER SEAL
         ACADEMY MORTGAGE
19       CORPORATION,                                            Judge: Hon. Edward M. Chen

20                          Defendant.

21

22             Academy Mortgage Corporation (“Academy”) respectfully submits this Administrative
23   Motion to File under Seal pursuant to Civil L.R. 7-11 and 79-5. Academy seeks to seal portions
24   of its Opposition to Relator’s Motion to Exclude the Expert Testimony of Susan Neal (the
25   “Opposition”) (Dkt. 336) 1. Specifically, Academy seeks those portions of the Opposition that
26

27   1
      Academy filed a redacted version on ECF as Dkt. 336, and is filing an unredacted version of the same brief as an
     attachment to this motion.
28
                                                                                    Defendant’s Motion to Seal
                                                                           Case No. 3:16-cv-02120 (EMC) (SK)

                                                             1
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 1   quote Ms. Neal’s Expert Report (Ex. A-1 to Dkt. 325-3), which Academy previously requested

 2   to be sealed, because there is a compelling reason that warrants the sealing of those portions of

 3   the Opposition, for the reasons set forth below.

 4            In addition, Academy seeks to seal the following portions of Ms. Neal’s deposition

 5   testimony, which is attached to Relator’s Motion to Exclude the Expert Testimony of Susan Neal

 6   as Exhibit A-2 to Dkt. 325-3 2: 30:19-31:7; 39:25-40:7; 41:4-41:15; 47:16-69:1; 72:14-73:16;

 7   and 74:16-88:21.

 8                                            STANDARD OF REVIEW

 9            Civil L.R. 79-5 permits an administrative motion to file under seal, and requires that the

10   moving party provide:

11            a specific statement of the applicable legal standard and the reasons for keeping a
              document under seal, including an explanation of: (i) the legitimate private or public
12            interests that warrant sealing; (ii) the injury that will result if sealing is denied; and (iii)
              why a less restrictive alternative to sealing is not sufficient[.]
13

14   Civil L.R. 79-5(c)(1). Additionally, moving party may also provide a declaration where

15   necessary. Civil L.R. 79-5(c)(2).

16            “A party seeking to seal a judicial record submitted in connection with a dispositive

17   motion bears the burden of establishing that ‘compelling reasons’ support the sealing request.”

18   Corthera Inc. at *1 (citations omitted). “[T]he party seeking to maintain records under seal must

19   ‘articulate compelling reasons supported by specific factual findings that outweigh the general

20   history of access and the public policies favoring disclosure [of court records], such as the public

21   interest in understanding the judicial process.’” Id. at *2 (citations omitted). "In general,

22   'compelling reasons' sufficient to outweigh the public's interest in disclosure and justify sealing

23   court records exists when such 'court files might have become a vehicle for improper

24   purposes[.]’” Orthopaedic Hosp. at *4 (citations omitted). “[T]he party seeking protection

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26   2
      Academy previously represented that the time to designate portions of Ms. Neal’s deposition testimony had not run
     at the time Relator filed her motion to exclude Ms. Neal’s expert testimony. Dkt. 332 at fn 1. Academy has now
27   designated the portions of Ms. Neal’s deposition testimony referenced in this motion as Confidential, pursuant to the
     Protective Order (Dkt. 141).
28
                                                                                     Defendant’s Motion to Seal
                                                                            Case No. 3:16-cv-02120 (EMC) (SK)

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       Case 3:16-cv-02120-EMC Document 338 Filed 07/07/22 Page 3 of 5



 1   bears the burden of showing specific prejudice or harm will result if no [protection] is granted."

 2   Id. (citations omitted). “That the documents sought to be filed under seal are subject to a

 3   protective order, without more, does not satisfy the compelling reasons standard.” Id. at *4-5.

 4                                             ARGUMENT

 5      I.      Academy Has a Legitimate Interest that Warrants Sealing, and Academy’s Interest
                Outweighs the Presumption of Public Access
 6

 7           As previously set forth in Academy’s Statement in Support of Relator’s Motion to

 8   Consider Whether Another Party’s Material Should be Sealed (Dkt. 332), Academy has an

 9   overriding legitimate interest that warrants sealing the Exhibits identified above (and quotes

10   from the Exhibits contained in Academy’s Opposition). Pursuant to the Stipulated Protective

11   Order entered into in this matter (Dkt. 141), Academy designated certain Exhibits and deposition

12   testimony as confidential, in part, because they contain or rely upon confidential trade secret and

13   other proprietary commercial information. Exhibit A-1, the portions of Exhibit A-2 designated

14   as confidential, and the portions of Ex. A-1 quoted in Academy’s Opposition brief, contain

15   and/or rely on proprietary information created by and about Academy. The Exhibits contain

16   statements directly concerning specific origination policies and procedures. In other words,

17   these Exhibits reveal information about Academy’s trade secrets in the mortgage origination and

18   lending business that it uses to gain a competitive business advantage. The Exhibits contain

19   information about Academy’s financial standing and viability, business development, strategic

20   planning, performance, operations, marketing strategies, loan origination, underwriting, and

21   quality control policies and practices, as well as recruitment efforts. This information,

22   distributed in each exhibit, are considered trade secrets. See Cal. Civ. Code § 3426.1 (Trade

23   secret includes formulas, patterns, compilations, programs, devices, methods, techniques, or

24   processes that “[d]erives independent economic value, actual or potential, from not being

25   generally known to the public or to other persons who can obtain economic value from its

26   disclosure or use[.]”).

27           The public version of Exhibit A-2 will need to be redacted to reflect the following

28   portions of the transcript which Academy has designated as confidential: 30:19-31:7; 39:25-
                                                                         Defendant’s Motion to Seal
                                                               Case No. 3:16-cv-02120 (EMC) (SK)

                                                      3
       Case 3:16-cv-02120-EMC Document 338 Filed 07/07/22 Page 4 of 5



 1   40:7; 41:4-41:15; 47:16-69:1; 72:14-73:16; and 74:16-88:21. Academy does not object to the

 2   public filing of a redacted version of Exhibit A-2, redacting the confidential information

 3   identified herein.

 4            California recognizes trade secrets, and the protection of the same. See, e.g., Cal. Civ.

 5   Code § 3426, et seq. Courts are required to preserve trade secrets, and may do so by sealing

 6   court records. See, e.g., Cal. Civ. Code § 3426.5 (“In an action under this title, a court shall

 7   preserve the secrecy of an alleged trade secret by reasonable means, which may include . . .

 8   sealing the records of the action[.]”). The Federal Rules of Civil Procedure expressly provide for

 9   the protection of trade secrets, commercial information, and confidential research applications.

10   Fed. R. Civ. P. 26(c)(1)(G). Academy has a strong interest in protecting its trade secrets, but if

11   these Exhibits and portions of the Opposition brief that describe or quote them are not sealed (or

12   redacted), Academy will lose its trade secrets and will suffer an irreparable injury to its

13   competitive advantage.

14            The privacy rights of borrowers, employees, Academy, and the United States government

15   outweigh the presumption to public access. Privacy rights are recognized and established. See,

16   e.g., Lin v. Suavei, Inc., No. 3:20-cv-862, 2021 U.S. Dist. LEXIS 245187, at *7 (S.D. Cal. Dec.

17   23, 2021); Harris v. Superior Court, 3 Cal. App. 4th 661, 664, 4 Cal. Rptr. 2d 564, 567 (1992);

18   Cal.Civ. Code § 3426, et seq. Second, the information contained in Academy’s Memorandum of

19   Points and Authorities in support of its Motion for Summary Judgment provides the public with

20   the information necessary to understand and access the litigation.

21      II.      Sealing the Exhibits Is the Only Appropriate Remedy to Protect Privacy Interests

22            Sealing the Exhibits is the only appropriate remedy to protect the privacy interests of

23   borrowers, employees, Academy, and the United States government. The Exhibits are

24   voluminous, primarily consist of or contain confidential information, and would have a

25   deleterious impact on confidentiality of discussions between Academy, its employees, and

26   Academy’s customers if disclosed.

27                                             CONCLUSION

28
                                                                             Defendant’s Motion to Seal
                                                                    Case No. 3:16-cv-02120 (EMC) (SK)

                                                        4
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 1          For the foregoing reasons, Academy seeks to seal Exhibit A-1; the portions of Exhibit A-

 2   1 quoted in Academy’s Opposition brief; and the following lines contained in Exhibit A-2:

 3   30:19-31:7; 39:25-40:7; 41:4-41:15; 47:16-69:1; 72:14-73:16; and 74:16-88:21.

 4

 5   Dated: July 7, 2022

 6   Respectfully submitted,                     Weiner Brodsky Kider PC

 7
                                                 /s/ Jason W. McElroy
 8                                               Jason W. McElroy
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                                                                        Defendant’s Motion to Seal
                                                               Case No. 3:16-cv-02120 (EMC) (SK)

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